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5                                                                       CLERK U.S. BANKRUPTCY COURT
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8                         UNITED STATES BANKRUPTCY COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                 LOS ANGELES DIVISION
11
12    In re:                                           Case No.:     2:23-bk-13307-NB
13    Seyed Mustafa Maghloubi,                         Chapter:      11
14                                                     MEMORANDUM DECISION FOR
15                                                     COERCIVE INCARCERATION OF SEYED
                                                       MUSTAFA MAGHLOUBI
16                                           Debtor.
                                                       Pre-Evidentiary Hearings on OSCs:
17                                                     Dates: January 23, February 20, March 12,
                                                             April 9, April 23, and August 8, 2024
18
                                                       Evidentiary Hearings on OSCs:
19                                                     Dates: August 23, September 11, October
                                                              10, and October 29, 2024
20
                                                       Continued Evidentiary Hearing on OSCs:
21                                                     Date: December 10, 2024
                                                       Time: 3:00 p.m.
22                                                     Place: Courtroom 1545
                                                              255 E. Temple Street
23                                                            Los Angeles, CA 90012
24
25
               On December 11, 2023, this Court issued an order directing the above-captioned
26
     Debtor (“Mr. Maghloubi”) to appear and show cause why this Court should not impose
27
     sanctions and/or direct the appointment of a chapter 11 trustee (dkt. 60, the “Initial
28



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1    OSC”). As set forth in the caption above, this Court has conducted ten hearings on the
2    Initial OSC and subsequent OSCs, including four evidentiary hearings.
3           Unfortunately, although Mr. Maghloubi has been provided multiple opportunities
4    over a period of approximately eleven months to comply with his obligations under this
5    Court’s orders and under the Bankruptcy Code, he has chosen not to do so. This Court
6    is reluctantly forced to find and conclude that coercive incarceration is necessary to
7    compel Mr. Maghloubi’s compliance with those obligations.
8           This Memorandum Decision summarizes and memorializes some of the principal
9    oral findings of fact and conclusions of law made by this Court at the ten hearings held
10   in connection with the OSC, as permitted by Rule 52(a) (Fed. R. Civ. P.), made
11   applicable by Rules 7052 and 9014(c) (Fed. R. Bankr. P.). All of this Court’s oral
12   findings and conclusions are deemed to be incorporated herein.
13   1. Legal standards
14          This Bankruptcy Court derives its civil contempt authority from 11 U.S.C.
15   § 105(a), which provides:
16                 The court may issue any order, process, or judgment that is necessary or
                   appropriate to carry out the provisions of this title. No provision of this title
17                 providing for the raising of an issue by a party in interest shall be
18                 construed to preclude the court from, sua sponte, taking any action or
                   making any determination necessary or appropriate to enforce or
19                 implement court orders or rules, or to prevent an abuse of process. [11
                   U.S.C. § 105(a).]
20
     This court may hold a party in civil contempt if there is “clear and convincing evidence
21
     that the contemnor[] violated a specific and definite order of the court.” In re Dyer, 322
22
     F.3d 1178, 1191 (9th Cir. 2003); see also Reno Air Racing Ass'n., Inc. v. McCord, 452
23
     F.3d 1126, 1130 (9th Cir. 2006) (“Civil contempt … consists of a party’s disobedience to
24
     a specific and definite court order by failure to take all reasonable steps within the
25
     party’s power to comply.”). A party may be held in contempt for violating a court order
26
     only if there is “no fair ground of doubt as to whether” the party’s acts or omissions
27
     violated the order. Taggart v. Lorenzen, 587 U.S. 554, 557 (2019) (emphasis in
28



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1    original). Stated another way, “civil contempt may be appropriate if there is no
2    objectively reasonable basis for concluding that the [party’s] conduct might be lawful.”
3    Id. Although inability to comply is a defense to a charge of civil contempt, the “party
4    asserting the impossibility defense must show ‘categorically and in detail’ why he is
5    unable to comply.” F.T.C. v. Affordable Media, 179 F.3d 1228, 1241 (9th Cir. 1999)
6    (citation omitted).
7           For contempt purposes, a “specific and definite order of the court,” Dyer, 322
8    F.3d 1178, 1191, can consist either of a judicial decree that has been tailored to the
9    unique circumstances of a particular case, or alternatively what is known as a “deemed
10   order” – that is, an obligation arising by operation of law to take (or refrain from taking)
11   various actions. The filing of a bankruptcy petition triggers multiple such “deemed
12   orders,” including, for example, the automatic stay of 11 U.S.C. § 362(a). See Dyer,
13   322 F.3d 1178, 1191 (“Because the ‘metes and bounds of the automatic stay are
14   provided by statute and systematically applied to all cases,’ there can be no doubt that
15   the automatic stay qualifies as a specific and definite court order.”) (citation omitted).
16   The obligations imposed upon chapter 11 debtors upon entry of an order for relief –
17   including the duties to file complete and accurate schedules and to provide various
18   financial, management, and operational reports to this Court and the United States
19   Trustee (“UST”) – are another example of such “deemed orders.”
20          Incarceration is an appropriate coercive sanction for civil contempt provided “the
21   contemnor can avoid the sentence imposed on him, or purge himself of it, by complying
22   with the terms of the original order.” Hicks v. Feiock, 485 U.S. 624, 635 n. 7. “When
23   the petitioners carry ‘the keys of their prison in their own pockets,’ the action ‘is
24   essentially a civil remedy designed for the benefit of other parties and has quite properly
25   been exercised for centuries to secure compliance with judicial decrees.’” Shillitani v.
26   United States, 384 U.S. 364, 368 (1966) (citations omitted).
27
28



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1    2. The Initial OSC
2            The Initial OSC itemized some of Mr. Maghloubi’s failures to adhere to orders of
3    this Court (both written orders tailored to this case and “deemed orders” imposing upon
4    Mr. Maghloubi various obligations under the Bankruptcy Code):
5                A) On October 13, 2023, this Court issued a Procedures Order (dkt. 32)
                    which, among other things, required Debtor to appear at a Principal Status
6                   Conference to be conducted on November 14, 2023. Debtor failed to
7                   appear at the Principal Status Conference.
                 B) Debtor failed to appear at both the Initial Debtor Interview and the initial
8                   § 341(a) meeting of creditors.
                 C) After entry of the Order for Relief (dkt. 11), Debtor failed to file any of the
9
                    lists, schedules, statements, and other documents required by Rule 1007
10                  (Fed. R. Bank. P.).
                 D) Debtor has failed to provide to the United States Trustee (the “UST”) any
11                  of the financial, management, and operational reports that are necessary
                    to enable the UST to carry out its oversight responsibilities under 28
12
                    U.S.C. § 586. See dkt. 42 at p. 4 (UST Motion to Dismiss). [Initial OSC
13                  (dkt. 60) at 1:27–2:11.]

14   3. The five interim orders; their cautions to Mr. Maghloubi about possible

15   incarceration; his settlement; and his breach of the settlement terms

16           At a hearing on the Initial OSC held on January 23, 2024, this Court determined

17   that Mr. Maghloubi had fallen far short of complying with this Court’s orders and his

18   obligations under the Bankruptcy Code.1 On January 26, 2024, this Court issued an

19   interim order that, among other things, imposed sanctions of $1,000.00 against Mr.

20   Maghloubi and set a deadline for him to file amended bankruptcy schedules (dkt. 89,

21   the “First Interim Order”). This Court took pains to emphasize that the small dollar

22   amount of the sanctions did not mean that Mr. Maghloubi’s omissions were not serious,

23   but instead reflected only this Court’s desire to avoid harming creditors:

24                          In setting the dollar amount of this sanction, this Court has taken
                     into consideration (along with all the other facts and circumstances) that (i)
25                   the OSC warned Mr. Maghloubi that he might face a punitive sanction of
26
     1 As noted in ¶ 1, above, each instance of Mr. Maghloubi’s failure to adhere to an obligation imposed
27   upon him by the Bankruptcy Code amounts to a violation of a “deemed order” of this Court. For ease of
     reference, this Memorandum Decision at times refers to Mr. Maghloubi’s non-compliance with his
28   Bankruptcy Code obligations without always emphasizing that such non-compliance is also a violation of
     this Court’s “specific and definite” orders.


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                  up to $2,000.00; (ii) Mr. Maghloubi has not denied his past misconduct
1
                  described in the OSC, and he did not respond regarding the dollar
2                 amount; and (iii) most importantly, a more substantial dollar amount could
                  harm creditors by taking funds that might otherwise go to them (i.e.,
3                 although Mr. Maghloubi's misconduct probably warrants a larger dollar
                  amount of sanctions, imposing a larger amount might be
4
                  counterproductive).
5                         Mr. Maghloubi is strongly cautioned that he has a duty to prepare
                  bankruptcy schedules and other papers accurately, and that when
6                 misstatements are frequent they look more and more like intentional acts
7                 and omissions to "hide the ball," or "shift the costs" to creditors to uncover
                  the truth, or otherwise make improper use of the legal system. In addition,
8                 the longer Mr. Maghloubi fails to devote sufficient attention to this case, or
                  attempts to mislead creditors (or this Court) by misstatements or
9                 omissions, the more he will risk much more serious sanctions….
10                        In sum, Mr. Maghloubi's past wrongful acts and omissions have not
                  been excused; he cannot "unring the bell"; his very belated bankruptcy
11                schedules have not been prepared accurately enough; he might be
                  subject to additional sanctions or remedies for his acts and omissions to
12                date; and the $1,000.00 punitive sanction is in no way intended to be full
13                compensation to this Court for Mr. Maghloubi's harm to the administration
                  of justice, let alone any compensation to creditors including Mr. Totaro.
14                [First Interim Order (dkt. 89) at pp. 6–8.]
15   The First Interim Order (dkt. 89) order also set a continued hearing on the Initial OSC.
16         At the continued hearing this Court determined that the amended schedules were
17   still patently deficient, and that there were numerous other problems such as Mr.
18   Maghloubi’s failure to appear for his Initial Debtor Interview. On February 22, 2024, this
19   Court issued an order (dkt. 97, the “Second Interim Order”) detailing these things and
20   imposing additional relief in connection with the OSC by directing UST to appoint a
21   chapter 11 trustee. Dkt. 97. On that same date, UST appointed Todd A. Frealy as the
22   chapter 11 trustee (see dkt. 98) and on February 23, 2024, this Court entered an order
23   approving the appointment of Mr. Frealy (“Trustee”). See dkt. 101.
24         On March 14, 2024, this Court entered a further interim order (dkt. 120, the “Third
25   Interim Order”) describing Mr. Maghloubi’s continuing non-compliance with his
26   obligations under the Bankruptcy Code, which included “(A) failure to file any monthly
27   operating reports (‘MORs’); (B) failure to meet a 2/27/24 deadline to file an Amended
28   Schedule I containing a proper response to question 8a (which inquires about ‘net



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1    income from rental property and from operating a business, profession, or farm,’ and
2    requires Mr. Maghloubi to ‘[a]ttach a statement for each property and business showing
3    gross receipts, ordinary and necessary business expenses, and the total monthly net
4    income’); and (C) failure to appear at status conferences as directed by this Court.”
5    Third Interim Order (dkt. 120) at p. 4. Mr. Maghloubi’s failure to comply with the Second
6    Interim Order’s (dkt. 97, p. 6) deadline to file an Amended Schedule I that properly
7    accounted for the operation of his business was of particular concern to this Court,
8    given that the business had generated substantial income in the past. The Third Interim
9    Order warned Mr. Maghloubi that “possible sanctions could include evidentiary
10   presumptions and/or coercive incarceration,” among other things. Third Interim Order
11   (dkt. 120) at p. 4 (emphasis added).
12          On April 15, 2024, this Court entered an order setting an evidentiary hearing on
13   the Initial OSC and the additional matters set forth in the interim orders. See dkt. 141
14   (the “Fourth Interim Order” or, with the Initial OSC and the other Interim Orders, the
15   “OSCs”). That Fourth Interim Order required Mr. Maghloubi to appear and “testify as to
16   the reasons for all of his failures to comply with his obligations under the Bankruptcy
17   Code and this Court’s orders ….” (Emphasis in original.) It also reiterated this Court’s
18   prior warning to Mr. Maghloubi, once again cautioning him that “possible sanctions
19   could include evidentiary presumptions and/or coercive incarceration.” Id. at p. 5
20   (emphasis added).
21          On the same day (April 15, 2024) – approximately one week prior to the first
22   scheduled date for the evidentiary hearing – Mr. Maghloubi’s counsel, Tony Forberg,
23   Esq., filed a “Substitution of Attorney” (dkt. 144) stating that Mr. Forberg no longer
24   represented Mr. Maghloubi and that Mr. Maghloubi was now proceeding in pro se.
25          Mr. Maghloubi appeared at the first scheduled date for the evidentiary hearing
26   and requested a continuance so that he would have the opportunity to retain new
27   counsel. Mr. Maghloubi’s request for a continuance was not opposed by either Trustee
28   or Michael Totaro, Esq. a creditor who has been participating in these proceedings (and



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1    a debtor in his own bankruptcy case, no. 2:23-bk-11397-NB).2 This Court orally granted
2    the request for a continuance.
3            On June 11, 2024, this Court entered an order (dkt. 151, the “Fifth Interim Order”)
4    approving a stipulation (dkt. 150) among Trustee, Mr. Maghloubi, and Mr. Totaro for a
5    second continuance of the evidentiary hearing. Entry of that order was based upon the
6    representation that, with Trustee’s assistance, Mr. Maghloubi and Mr. Totaro had
7    reached a settlement of the Damages Action and the Dischargeability Action (both as
8    defined in note 2).
9            On June 14, 2024, this Court entered orders approving a written settlement of the
10   Damages Action and Dischargeability Action, under which Mr. Maghloubi and his
11   spouse agreed to pay $135,000.00 over a period of thirteen months to resolve both
12   actions. See Damages Action dkt. 22 and Dischargeability Action dkt. 16 (the
13   “Settlement Orders”). On July 26 and July 30, 2024, Mr. Totaro filed papers alleging
14   that Mr. Maghloubi had defaulted under the settlements by his late and missed
15   payments. See Damages Action dkt. 25 and Dischargeability Action dkt. 19.
16   4. The first evidentiary hearing; and Mr. Maghloubi’s blatant lies
17           On August 8, 2024, Mr. Maghloubi, Mr. Totaro, and Trustee appeared at the third
18   continued date for the evidentiary hearing. No testimony from Mr. Maghloubi was
19   taken, however, because Mr. Maghloubi appeared pro se and both Mr. Totaro and Mr.
20   Maghloubi requested that a further continued evidentiary hearing be scheduled to
21   provide Mr. Maghloubi an opportunity to retain new counsel.
22           On August 12, 2024, this Court entered an order setting a fourth and final
23   continued date for the initial evidentiary hearing on the OSCs. See dkt. 154 (the “Final
24   Continuance Order”). As provided in the Final Continuance Order, this Court conducted
25   2 Specifically, Mr. Totaro has sought and supported the OSCs and has filed (1) an action for damages

26   against Mr. Maghloubi (Adv. No. 2:23-ap-01155-NB, the “Damages Action”) and (2) an action seeking a
     determination that the indebtedness alleged in the Damages Action is non-dischargeable as to Mr.
27   Maghloubi (Adv. No. 2:24-ap-01007-NB, the “Dischargeability Action”). This Court has entered an order
     procedurally consolidating the Damages Action and the Dischargeability Action for purposes of trial. See
28
     Damages Action dkt. 18.



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1    the first evidentiary hearing on August 23, 2024, and heard testimony from Mr.
2    Maghloubi, who was now represented by new counsel, Darius Shahrouzi, Esq.
3          The evidence at that hearing established that key assertions made by Mr.
4    Maghloubi prior to that hearing had been blatantly false.
5          a. Operating a business that allegedly had been shut down
6                 Mr. Maghloubi repeatedly represented that he has no money to pay
7          creditors because his auto repair business has been shut down (as a result of
8          permitting violations). Video evidence introduced by Mr. Totaro showed that,
9          contrary to Mr. Maghloubi’s assertions, he is still operating that business.
10                The video shows a private investigator approaching Mr. Maghloubi to
11         obtain a quote to repair a damaged vehicle. Mr. Maghloubi states that he can
12         repair the vehicle and submit an insurance claim.
13                Further damaging his credibility, Mr. Maghloubi suggests in the video that
14         the investigator cooperate with him in what appears to be an insurance fraud
15         scheme. Mr. Maghloubi proposes to submit an inflated claim for repairs that
16         would not be performed and to then split the excess insurance proceeds with the
17         investigator.
18                The fact that the business has been operating was later corroborated by
19         documentary evidence, and was eventually admitted by Mr. Maghloubi.
20         Specifically, after this Court issued an order finding him in contempt of court (dkt.
21         156), Mr. Maghloubi turned over to Trustee a partial set of records pertaining to
22         the operation of his auto repair business. Trustee’s Decl. (dkt. 181) at ¶¶ 3–10
23         (pp. 2:18–4:13). Although those records have significant time gaps, they show
24         that, at a minimum, his business has generated income of $214,997.52 after
25         conversion of this case to Chapter 11. Trustee’s Decl. (dkt. 181) at ¶ 7 (p. 3:25–
26         27). Mr. Maghloubi also filed a declaration in which he belatedly acknowledged
27         that his business had continued to operate. Maghloubi Decl. (dkt. 178) at ¶¶ 5–
28         18 (p. 3–5).



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1                 b. Staging a theft of business records
2                 For many months Mr. Maghloubi has asserted that he could not turn over
3          documents and records because they had been stolen, and most of his financial
4          transactions are in cash, so he cannot recreate his stolen records from other
5          sources. His attempts to provide evidence of that theft were completely
6          unbelievable, and those attempts only reinforced this Court’s findings that he is
7          not a credible witness.
8                 According to Mr. Maghloubi, he stores all business records in his vehicle
9          and thieves broke into his vehicle and stole the records. To substantiate these
10         allegations Mr. Maghloubi stated that he had videos, taken from security cameras
11         in the garage where he parks his car, showing the thieves in action.
12                Before watching the videos this Court anticipated that they would show the
13         alleged thieves in ski masks (or other means of concealment), quickly looking in
14         the windows of numerous cars, spotting a laptop computer in Mr. Maghloubi’s
15         car, breaking the car window or otherwise forcibly gaining entry, stealing the
16         computer, and running away. This Court anticipated that Mr. Maghloubi would
17         testify that he kept all of his business records on that computer, without backing
18         them up. That story might have had at least a veneer of plausibility.
19                Instead, the video footage shows two men, without any masks or other
20         concealment, one wearing a bright orange-colored vest, leisurely walking into a
21         well-lighted parking garage and approaching a four-door white hatchback. The
22         portion of the video showing how the men opened the vehicle’s rear liftgate is
23         missing, and there are no telltale signs of forced entry, such as damage to the
24         vehicle.
25                The videos are best viewed multiple times because one is backward and
26         the other is sped up, but slowed down to ¼ speed the fast video shows the
27         following. The two men are “stealing” paper files. They are also selecting which
28         papers they will take, although without looking closely – i.e., as if they already



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1          know what to look for (some bags or boxes are passed over apparently without
2          being opened, and other file folders, papers, and a bag are handed from one
3          man to the other to hold and take away). Then they close the hatchback before
4          walking away.
5                 Mr. Maghloubi apparently realized, belatedly, how implausible this
6          scenario would be, because he testified that he must have been set up. To
7          reinforce this new story he testified that his jacket and wallet were in the car but
8          were not stolen, making the “theft” all the more suspicious.
9                 As this Court stated on the record, Mr. Maghloubi’s change of story was
10         no more credible than his initial story. For example, how would Mr. Totaro, or
11         anyone else purportedly trying to set him up, know that he kept his records in his
12         car? How would they know that such records were (allegedly) the only copy, and
13         therefore worth stealing? Etc.
14                In sum, this Court was no more persuaded by Mr. Maghloubi’s excuses for
15         not producing documents and records than by his assertions that he was not
16         operating his car repair business. This Court found that he was blatantly lying.
17   5. The First Contempt Order, and further warnings to Mr. Maghloubi about likely
18   incarceration
19         On August 28, 2024, this Court entered an order holding Mr. Maghloubi in
20   contempt (dkt. 156, the “First Contempt Order”). The First Contempt Order set a
21   deadline of September 9, 2024 for Mr. Maghloubi (x) to file corrected and missing
22   documents, (y) to provide non-filed documents, and (z) to turn over books, records, and
23   assets to Trustee. First Contempt Order (dkt. 156) at ¶ 2 (p. 2:10–3:3). It also
24   cautioned Mr. Maghloubi that “he will face sanctions, very likely including coercive
25   incarceration, if he does not persuade this Court that he has fully complied” with the
26   directive to produce documents and records and turn over assets. First Contempt
27   Order (dkt. 156) at ¶ 4 (p. 3:11–13) (emphasis added).
28



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1           Further emphasizing the importance of complete disclosure and turnover of all
2    assets, books, and records, the First Contempt Order stated that “to avoid
3    incarceration or other sanctions, Mr. Maghloubi is strongly encouraged, if he has any
4    doubts about what to disclose or turn over, to choose to disclose and turn over as much
5    as possible.” First Contempt Order (dkt. 156) at ¶ 4 (p. 3:18–20) (emphasis added).
6    Finally, the First Contempt Order set a continued evidentiary hearing to “make a very
7    preliminary assessment of whether Mr. Maghloubi has complied with the [First
8    Contempt Order’s] disclosure and turnover requirements.” First Contempt Order (dkt.
9    156) at ¶ 3 (p. 3:5–7).
10   6. The continued evidentiary hearing and the Second Contempt Order
11          On September 11, 2024, this Court conducted a continued evidentiary hearing to
12   assess Mr. Maghloubi’s compliance with the First Contempt Order, at which it took
13   additional testimony from Mr. Maghloubi. In an order issued on September 12, 2024
14   (dkt. 176, the “Second Contempt Order”), this Court memorialized some oral findings of
15   fact and conclusions of law made at that hearing. Specifically, this Court determined
16   that Mr. Maghloubi had not complied with the First Contempt Order, because among
17   other omissions he had failed to produce complete business records or turn over
18   assets. See Second Contempt Order (dkt. 176) at ¶ 1 (p. 2:11–3:10).
19          Without excusing Mr. Maghloubi’s non-compliance, this Court set a renewed
20   deadline of September 26, 2024 for Mr. Maghloubi to fully comply with the First
21   Contempt Order. This Court also advised Mr. Maghloubi that if he failed to meet that
22   deadline, “he will be subject to coercive incarceration.” Second Contempt Order (dkt.
23   176) at ¶ 2 (p. 3:11–12) (emphasis added).
24   7. The further continued hearings
25          On October 10, 2024, this Court conducted a further continued hearing to
26   ascertain whether Mr. Maghloubi had complied with the First and Second Contempt
27   Orders (dkt. 156 & 176). But Mr. Maghloubi’s counsel, Mr. Shahrouzi, appeared via
28   video transmission and requested that the hearing be continued because he was



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1    hospitalized overseas. While expressing serious concerns about further delay, this
2    Court granted a continuance upon a determination that the seriousness of potential
3    incarceration outweighed those concerns.
4           On October 29, 2024, this Court conducted a continued evidentiary hearing at
5    which Mr. Maghloubi testified. At that hearing, this Court orally ruled that Mr. Maghloubi
6    has failed to meaningfully comply with the First and Second Contempt Orders (dkt. 156
7    & 176) for the following two independent reasons: failure to produce documents,
8    records, and information; and failure to turn over assets.
9           a. Failure to produce documents, records, and information
10          Mr. Maghloubi has failed to disclose the income generated by his auto repair
11   business and how he has spent that income. A spreadsheet introduced into evidence
12   by Trustee shows material discrepancies between the alleged revenues reported in Mr.
13   Maghloubi’s Monthly Operating Reports (“MORs”) and the cash balances reported on
14   the incomplete bank account records that Mr. Maghloubi has produced to Trustee.
15   These discrepancies, and bank records previously introduced in evidence showing large
16   cash deposits whenever needed by Mr. Maghloubi, have persuaded this Court that Mr.
17   Maghloubi has diverted and retains very substantial funds. This is all further
18   corroborated by the fact that even the incomplete bank account records that Mr.
19   Maghloubi has produced contain a significant number of large cash transactions which
20   Mr. Maghloubi has failed to adequately explain. In sum, Mr. Maghloubi has not
21   remotely provided the sort of documents, records, information, and accounting that he
22   would need to provide before he could persuade this Court that, notwithstanding his
23   prior repeated lies, he has now provided an accurate picture of his finances, and that he
24   is unable to pay his creditors out of the very large sums he has failed to account for.
25          b. Failure to turn over assets and income
26          Mr. Maghloubi still has failed to turn over any substantial assets or income to
27   Trustee. Mr. Maghloubi’s offer at the hearing to turn over to Trustee “the keys” to his
28   auto repair business is illusory. The auto repair business is a sole proprietorship that



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1    has little if any value without Mr. Maghloubi. The income generated by the auto repair
2    business is the asset that Mr. Maghloubi should have turned over.
3    8. Conclusion
4          For all of the foregoing reasons, this Court finds and concludes that Mr.
5    Maghloubi continues to be in violation of this Court’s orders – both written orders
6    tailored to the particular circumstances of this case, such as the First and Second
7    Contempt Order (dkt. 156 & 176), and “deemed orders” imposing upon Mr. Maghloubi
8    various obligations under the Bankruptcy Code (see ¶ 1, above). Notwithstanding the
9    ample time and multiple opportunities that Mr. Maghloubi has been provided to rectify
10   the situation, he remains in contempt of court. This Court is compelled to determine
11   that coercive incarceration is necessary to secure Mr. Maghloubi’s compliance with its
12   orders. Concurrent with this Memorandum Decision, a separate judgment and
13   commitment order will be issued directing Mr. Maghloubi to surrender himself to the
14   U.S. Marshal’s Service to be detained in the custody of the Bureau of Prisons.
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          Date: November 1, 2024
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